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BALLARD SPAHR LLP
A Pennsylvania Limited Liability Partnership
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Attorney for Ranger Specialty Income Fund, L.P.
and Ranger Alternative Management, II, L.P.


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY


IN RE:                                              :
                                                      CHAPTER 11
                                                    :
                                                    :
PRINCETON ALTERNATIVE FUNDING LLC                     Case No. 18-14600-MBK
                                                    :
                                                    :
                       Debtor.
                                                    :
                                                    :

                       ENTRY OF APPEARANCE AND REQUEST FOR
                      NOTICES AND SERVICE OF ALL OTHER PAPERS

         PLEASE TAKE NOTICE that the firm of Ballard Spahr LLP hereby enters its

appearance on behalf of Ranger Specialty Income Fund, L.P. and Ranger Alternative

Management, II, L.P. in the above-referenced proceeding pursuant to Section 1109(b) of the

United States Bankruptcy Code and Fed. R. Bankr. P. 9010(b).

         PLEASE TAKE FURTHER NOTICE that such counsel hereby requests, pursuant to

Federal Rules of Bankruptcy Procedure 2002, 3017, 9007 and 9010, that all notices given or

required to be given in the above-captioned case including, but not limited to, all papers filed and

served in all proceedings in this case and all notices mailed only to statutory committees or their

authorized agents or to creditors and equity security holders who file with the court a request that

all notices be mailed to them be given to and served upon said counsel at the following address,

telephone and fax number:


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                                 BALLARD SPAHR LLP
                                ATTN: DEAN C. WALDT
                               210 Lake Drive East, Suite 200
                                   Cherry Hill, NJ 08002
                                  Phone: (856) 761-3400
                                    Fax: (856) 761-1020
                              E-mail: waldtd@ballardspahr.com


       PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only

notices and papers referred to in Federal Rule of Bankruptcy Procedure 2002, but also includes,

without limitation, orders and notices of any application, motion, petition, pleading, request,

complaint, or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, hand-delivery, telephone, fax transmission, or otherwise filed

in or made with regard to this case and any proceeding commenced herein.

Dated: March 14, 2018                              Respectfully Submitted,

                                                   BALLARD SPAHR, LLP

                                              By: /s/ Dean C. Waldt
                                                  Dean C. Waldt, Esq.
                                                  210 Lake Drive East, Suite 200
                                                  Cherry Hill, New Jersey 08002
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                                                   Attorney for Ranger Specialty Income Fund,
                                                   LP and Ranger Alternative Management, II,
                                                   L.P.




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                                 CERTIFICATE OF SERVICE

       I, Tasha M. Hart, state that on March 14, 2018, I electronically filed a copy of the

foregoing Notice of Appearance and Request for Service of Notices and Documents. Notice of

this filing will be sent to all parties on the Court’s Electronic Mail Notice List by operation of the

Court’s CM/ECF system, including Debtor’s counsel.


                                               By:     /s/ Tasha M. Hart
                                                      Tasha M. Hart




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